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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )                     8:15CR341
                          Plaintiff,                    )
                                                        )
        vs.                                             )                      ORDER
                                                        )
MARIA SAN JUANITA PEREA,                                )
                                                        )
                          Defendant.                    )


        This matter is before the court on the motion for an extension of time by defendant Maria San Juanita
Perea (Filing No. 36). Maria San Juanita Perea seeks an additional thirty days in which to file pretrial motions
in accordance with the progression order. Maria San Juanita Perea has filed an affidavit wherein she consents
to the motion and acknowledges she understands the additional time may be excludable time for the purposes
of the Speedy Trial Act (Filing No.36-1). Maria San Juanita Perea's counsel represents that government's
counsel has no objection to the motion. Upon consideration, the motion will be granted.


        IT IS ORDERED:
        Defendant Maria San Juanita Perea's motion for an extension of time (Filing No. 36) is granted. Maria
San Juanita Perea is given until on or before March 14, 2016, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of the

motion, i.e., the time between February 11, 2016, and March 14, 2016, shall be deemed excludable time in
any computation of time under the requirement of the Speedy Trial Act for the reason defendant's counsel
requires additional time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
        DATED this 11th day of February, 2016.
                                                            BY THE COURT:

                                                            s/ Thomas D. Thalken
                                                            United States Magistrate Judge
